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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

          Debtors.                                               (Jointly Administered)

                                                                 Hearing Date: November 20, 2024 at 2:00 p.m. (ET)
                                                                 Objection Deadline: November 11, 2024 at 4:00 p.m. (ET)




                                           NOTICE OF OBJECTION

TO:       (a) the U.S. Trustee; (b) counsel to the Committee; (c) the Securities and Exchange
          Commission; (d) the Internal Revenue Service; (e) the United States Department of
          Justice; (f) the United States Attorney for the District of Delaware; (g) counsel for the Ad
          Hoc Committee; (h) each claimant whose claim is subject to this Objection; and (i) to the
          extent not listed herein, those parties requesting notice pursuant to Bankruptcy Rule
          2002.

       On September 25, 2024, FTX Trading Ltd. and its affiliated debtors and debtors-in-
possession (the “Debtors”) filed the Debtors’ Eighty-Ninth (Non-Substantive) Omnibus
Objection to Certain Superseded Claims (Customer Claims) (the “Objection”).

       Responses, if any, to the relief requested in the Objection must be filed with the United
States Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on
or before November 11, 2024 at 4:00 p.m. (ET).

       At the same time, you must also serve a copy of the response upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on November 11, 2024.

       A HEARING ON THE OBJECTION WILL BE HELD ON NOVEMBER 20, 2024 AT
2:00 P.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY, CHIEF UNITED STATES
BANKRUPTCY COURT JUDGE, IN THE UNITED STATES BANKRUPTCY COURT FOR
THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5TH FLOOR,
COURTROOM 5, WILMINGTON, DELAWARE 19801.




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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     IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE OBJECTION WITHOUT FURTHER
NOTICE OR HEARING.

Dated: September 25, 2024             LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                      /s/ Matthew R. Pierce
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                                      Kimberly A. Brown (No. 5138)
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                                      -and-

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                                      Counsel for the Debtors and Debtors-in-Possession




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